5 F.3d 1506NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.
    Amiralli Embrahim SHROFF, Plaintiff-Appellant,v.The UNITED STATES, Defendant-Appellee.
    No. 93-5061.
    United States Court of Appeals, Federal Circuit.
    Aug. 17, 1993.
    
      Before NEWMAN, Circuit Judge, COWEN, Senior Circuit Judge, and MICHEL, Circuit Judge.
      PER CURIAM.
    
    
      1
      The judgment of the United States Court of Federal Claims, holding that it does not have jurisdiction of an appeal from the denial of a visa, is affirmed.
    
    